Case 2:04-cv-04334-CBM-SH Document 132 Filed 06/21/10 Page 1 of 16 Page ID #:1935
Case 2:04-cv-04334-CBM-SH Document 132 Filed 06/21/10 Page 2 of 16 Page ID #:1936
Case 2:04-cv-04334-CBM-SH Document 132 Filed 06/21/10 Page 3 of 16 Page ID #:1937
Case 2:04-cv-04334-CBM-SH Document 132 Filed 06/21/10 Page 4 of 16 Page ID #:1938
Case 2:04-cv-04334-CBM-SH Document 132 Filed 06/21/10 Page 5 of 16 Page ID #:1939
Case 2:04-cv-04334-CBM-SH Document 132 Filed 06/21/10 Page 6 of 16 Page ID #:1940
Case 2:04-cv-04334-CBM-SH Document 132 Filed 06/21/10 Page 7 of 16 Page ID #:1941
Case 2:04-cv-04334-CBM-SH Document 132 Filed 06/21/10 Page 8 of 16 Page ID #:1942
Case 2:04-cv-04334-CBM-SH Document 132 Filed 06/21/10 Page 9 of 16 Page ID #:1943
Case 2:04-cv-04334-CBM-SH Document 132 Filed 06/21/10 Page 10 of 16 Page ID #:1944
Case 2:04-cv-04334-CBM-SH Document 132 Filed 06/21/10 Page 11 of 16 Page ID #:1945
Case 2:04-cv-04334-CBM-SH Document 132 Filed 06/21/10 Page 12 of 16 Page ID #:1946
Case 2:04-cv-04334-CBM-SH Document 132 Filed 06/21/10 Page 13 of 16 Page ID #:1947
Case 2:04-cv-04334-CBM-SH Document 132 Filed 06/21/10 Page 14 of 16 Page ID #:1948
Case 2:04-cv-04334-CBM-SH Document 132 Filed 06/21/10 Page 15 of 16 Page ID #:1949
Case 2:04-cv-04334-CBM-SH Document 132 Filed 06/21/10 Page 16 of 16 Page ID #:1950
